        Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 1 of 6



                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:11-CR-166
                                           :
             v.                            :   (Judge Conner)
                                           :
DAMIEN HAMMONDS,                           :
                                           :
                    Defendant              :

                                  MEMORANDUM

      Presently before the court is a motion (Doc. 187) for early disclosure of Brady

and Jencks materials filed by defendant Damien Hammonds (“Hammonds”).

Hammonds requests that the court order the United States of America (“United

States”) to immediately disclose all exculpatory Brady evidence except Giglio

materials and to disclose all Giglio materials and Jencks materials at least two

weeks prior to trial. For the reasons that follow, the court will deny the motion.

II.   Background

      On May 4, 2011, a federal grand jury returned a two-count Indictment

charging Hammonds with (1) intentionally and knowingly manufacturing,

distributing, and possessing with intent to distribute 280 grams or more of cocaine

base, and 5 kilograms of cocaine hydrochloride, in violation of title 21 U.S.C. § 841

(a)(1) and (2) criminal conspiracy to manufacture, distribute, and possess with

intent to distribute 280 grams of cocaine base, and 5 kilograms of cocaine

hydrochloride, in violation of 21 U.S.C. § 846. (Doc. 1). Hammonds pled not guilty

at his initial appearance on May 6, 2011. (Doc. 6). On November 3, 2011,

Hammonds filed this instant motion for early disclosure of Brady and Jencks
        Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 2 of 6



materials. (Doc. 187). The motion has been fully briefed and is now ripe for

disposition. (See Docs. 188, 226).

III.   Discussion

       A.    Brady Materials

       Hammonds requests that the court order the United States to immediately

disclose all exculpatory Brady evidence except Giglio impeachment materials and

to disclose all Giglio impeachment materials at least two weeks in advance of trial.

(Doc. 187 ¶ 19). Under Brady v. Maryland, the United States must disclose to the

defendant any evidence in its possession that is favorable to the defendant and

material either to guilt or to punishment. 373 U.S. 83, 87 (1963). Both impeachment

and exculpatory evidence fall within the United States’ disclosure duty. See Giglio

v. United States, 405 U.S. 150, 154 (1972). Brady materials must be produced “in

time for its effective use at trial.” United States v. Starusko, 729 F.2d 256, 262 (3d

Cir. 1984). Pursuant to the court’s scheduling order dated May 9, 2011, the United

States must permit counsel for Hammonds to “inspect, copy, or photocopy any

exculpatory evidence within the purview of Brady” but the government may

“redact impeachment material that is within the scope of Giglio v. United States,

405 U.S. 150 (1972).” (Doc. 51, at 5). The court’s scheduling order further states

that “[t]he government shall make all Giglio material available to the defendant for

inspection or copying at least one week before the start of trial, unless the

government demonstrates that unique circumstances in the case require a later

disclosure.” (Id.)

                                            2
          Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 3 of 6



      In the case sub judice, the United States concedes that it must immediately

disclose all exculpatory Brady evidence except Giglio impeachment materials.1

(Doc. 226, at 2-3). The United States proposes disclosing all Giglio materials three

days before the commencement of trial. (Doc. 226, at 2-3). In United States v.

Higgs, the Third Circuit held that to fully protect a defendant’s right to a fair trial,

the United States must produce all Giglio materials on the day that the witness

testifies. 713 F.2d 39, 44 (3d Cir. 1983). The court has discretionary authority to

compel pretrial disclosure of Giglio material “to ensure the effective administration

of the criminal justice system.” Id. at 44 n.6; see also United States v. Starusko, 729

F.2d 256, 261 (3d Cir. 1984) (“The district court may dictate by court order when

Brady material must be disclosed, and absent an abuse of discretion, the

government must abide by that order.”). The court finds that disclosure of Giglio

materials at least one week prior to trial fully protects Hammond’s right to a fair

trial and provides counsel with sufficient time to effectively utilize the information.



      1
          The United States acknowledges its continuing obligation to disclose
exculpatory materials except Giglio impeachment materials under Brady and avers
that it is “unaware of any exculpatory information” at this time. (Doc. 228, at 2, 4-5).
Hammonds has presented no evidence that the United States failed to produce all
exculpatory evidence except Giglio impeachment materials within the purview of
Brady. Accordingly, the court will deny this portion of Hammond’s motion as moot.
        To the extent that defense counsel has specific information suggesting a
failure to disclose Brady material, Hammonds may file a motion for in camera
review (after meeting and conferring with the United States in an effort to amicably
resolve the issue). However, the court notes that such a motion must “make a
plausible showing that the inspection will reveal material evidence.” Riley v.
Taylor, 277 F.3d 261, 301 (3d Cir. 2001) (citations and quotations omitted).


                                            3
          Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 4 of 6



The conclusory justifications for early disclosure proffered by Hammonds are

insufficient to warrant early disclosure of Giglio materials and departure from the

court’s schedule order.2 Accordingly, the court will deny Hammond’s motion for

early disclosure of Giglio materials.

      B.      Early Disclosure of Jencks Materials

      Hammonds seeks disclosure of Jencks Act material at least two weeks prior

to trial because it will assist him in preparing his defense and help ensure he

receives a fair trial. (Doc. 188, at 5). The United States objects and proposes to

produce all Jencks material three days prior to trial. (Doc. 226, at 3).

      The Jencks Act provides:

      In any criminal prosecution brought by the United States, no
      statement or report in the possession of the United States which was
      made by a Government witness or prospective Government witness
      (other than the defendant) shall be the subject of subpoena, discovery,
      or inspection until said witness has testified on direct examination in
      the trial of the case.

18 U.S.C. § 3500(a). Once a witness called by the United States testifies on direct

examination, the defendant is entitled to move for production of “any statement . . .

of the witness in the possession of the United States which relates to the subject

matter as to which the witness has testified.” Id. § 3500(b). The Third Circuit has

explicitly held that district courts may not compel production of Jencks material



      2
        The United States proffered no justification for delaying disclosure of the
Giglio materials until three days prior to trial. Accordingly, the court will require
disclosure of all Giglio materials at least a week prior to trial pursuant to the court’s
scheduling order.

                                            4
         Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 5 of 6



prior to a witness testifying on direct examination. United States v. Murphy, 569

F.2d 771, 773 (3d Cir. 1978); see also United States v. Mote, No. 3:07-CR-144, 2010

WL 2404360, at *5 (M.D. Pa. Jun. 10, 2010). The Third Circuit has, however,

encouraged the prevailing practice of United States Attorneys of “delivering Jencks

material to defense counsel sufficiently in advance of the conclusion of direct

examination to obviate trial interruptions solely to permit defense counsel to study

the disclosures.” Murphy, 569 F.2d at 773 n. 5.

      The court concludes that it cannot compel the United States to produce

Jencks material to Hammonds prior to their witnesses testifying on direct

examination. The court notes that disclosure of this material three days before trial

should provide counsel with ample to prepare for trial, but it also notes that one or

two additional days of preparation may expedite trial proceedings. The court

encourages counsel for Hammonds and the Assistant United States Attorney to

meet and confer in an effort to resolve this issue amicably.

IV.   Conclusion

      For the foregoing reasons, Hammond’s motion (Doc. 187) will be denied. An

appropriate order follows.


                                            S/ Christopher C. Conner
                                           CHRISTOPHER C. CONNER
                                           United States District Judge


Dated:       January 19, 2012
       Case 1:11-cr-00166-CCC Document 241 Filed 01/19/12 Page 6 of 6



               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:11-CR-166
                                           :
             v.                            :   (Judge Conner)
                                           :
DAMIEN HAMMONDS,                           :
                                           :
                   Defendant               :

                                       ORDER

      AND NOW, this 19th day of January, 2012, upon consideration of the motion

(Doc. 187) for early disclosure of Jencks and Brady materials, and for the reasons

set forth in the accompanying memorandum, it is hereby ORDERED that:

      1.     The motion (Doc. 187) is DENIED.

      2.     The United States shall disclose all Giglio materials at least seven (7)
             days prior to trial pursuant to the court’s scheduling order (Doc. 51).



                                            S/ Christopher C. Conner
                                           CHRISTOPHER C. CONNER
                                           United States District Judge
